    Case 3:14-cr-00031-RGJ Document 48 Filed 09/16/14 Page 1 of 4 PageID #: 178




                                UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF KENTUCKY
                                     LOUISVILLE DIVISION
                             CRIMINAL ACTION NO. 3:14-CR-00031-TBR



UNITED STATES OF AMERICA                                                                               Plaintiff,

v.

COREY THOMPSON                                                                                      Defendant.



                               MEMORANDUM OPINION AND ORDER

        This matter comes before the Court upon Defendant Corey Thompson’s Motion to Compel

Pretrial Disclosure of Witness Identity & Telephone Recordings. (Docket No. 39). The Government has

responded. (Docket No. 42). Fully briefed, this matter is now ripe for adjudication. For the reasons set

forth below, the Court will DENY Thompson’s Motion.


                                                    Analysis

        Thompson seeks to require the Government to disclose “all witnesses participating in and all

telephonic call recordings made” during its investigation of the offenses listed in the indictment. (Docket

No. 40 at 1.) He points to the Government’s obligation to timely produce the statements of adversarial

witnesses who are expected to testify at trial. He further notes that Federal Rule of Criminal Procedure

16(a) requires the Government to disclose statements and documents relevant to trial preparation,

including the Defendant’s own statements and any documentation generated by law enforcement that may

be admitted.1



1
 Thompson further relies upon 28 U.S.C. § 530B and Kentucky Rule of Professional Responsibility 3.8(c) for the
proposition that the Government must disclose such evidence. Rule 3.8(c) obligates a prosecutor to:

                 [M]ake timely disclosure to the defense of all evidence or information known to
                 the prosecutor that tends to negate the guilt of the accused or mitigates the
                 offense, and, in connection with sentencing, disclose to the defense and to the
                 tribunal all unprivileged mitigating information known to the prosecutor, except

                                                        1
 Case 3:14-cr-00031-RGJ Document 48 Filed 09/16/14 Page 2 of 4 PageID #: 179




        According to Thompson, the Government’s discovery reveals that on March 5, 2014, a

confidential informant participated in a telephone conversation regarding a “firearms reversal.” The

Government provided to Thompson a digital recording of this conversation. However, the recording fails

to make plain the identity of the other parties to the conversation. (Docket No. 40 at 3.) Thompson

argues that such information is of particular importance, as the confidential informant apparently intended

only to participate in a firearm reversal with Demetrus Davis, Thompson’s Co-Defendant. Contrary to

the Government’s allegation that the firearm reversal involved both Defendants, Thompson contends that

the confidential informant did not know Thompson at the time of the recording. (Docket No. 40 at 3.)


         Accordingly, Thompson demands two specific disclosures. He first seeks the identities of any

law enforcement officers and/or lay witnesses who participated in this conversation. He further seeks the

disclosure of any recordings and written reports “reflecting the [conversation’s] substance and content.”

(Docket No. 40-1.)


        Brady v. Maryland, 373 U.S. 83 (1963), and its progeny define the scope of the Government’s

obligation to “turn over material that is both favorable to the defendant and material to guilt or

punishment.” United States v. Bencs, 28 F.3d 555, 560 (6th Cir. 1994). Brady does not demand that the

prosecutor “deliver his entire file to defense counsel,” instead requiring only that he “disclose evidence

favorable to the accused that, if suppressed, would deprive the defendant of a fair trial.” United States v.




                  when the prosecutor is relieved of this responsibility by a protective order of the
                  tribunal.

Thompson cites no controlling authority interpreting the obligations imposed by this ethical rule; however, the
Supreme Court has held that a prosecutor’s ethical or statutory obligation to disclose evidence favorable to the
defense may be broader than Brady’s mandate to disclose material evidence pursuant to the Fourteenth Amendment.
See Cone v. Bell, 556 U.S. 449, 470 n.15 (2009) (“[T]he prudent prosecutor will err on the side of transparency,
resolving doubtful questions in favor of disclosure.”) (citations omitted). In any event, however, the constitutional
contours of the pretrial duty to disclose are set forth in Brady, statutory law, and the Jencks Act, rather than in a
state’s ethical rules.



                                                          2
 Case 3:14-cr-00031-RGJ Document 48 Filed 09/16/14 Page 3 of 4 PageID #: 180




Presser, 844 F.2d 1275, 1281 (6th Cir. 1988) (quoting United States v. Bagley, 473 U.S. 667, 675

(1985)). Exculpatory and impeaching evidence must be produced “in time for use at trial.” Id. at 1285.


        The Jencks Act institutes additional procedures for the exchange of such information, establishing

that after a government witness’s testimony, the Defendant can request that the Court order the

Government to produce certain documents related to the subject matter of that witness’s testimony. 18

U.S.C. § 3500(a), (b). But these materials may not be compelled from the Government until after the

witness has testified. United States v. Algie, 667 F.2d 569, 571 (6th Cir. 1982). Rule 16(a)(2) exempts

from discovery “reports, memoranda, or other internal government documents made by an attorney for

the government . . . in connection with investigating or prosecuting the case” unless the allowed by

express provision.    See United States v. Conder, 423 F.2d 904, 910 (6th Cir. 1970) (“Rule 16(b)

specifically exempts from pretrial discovery the statements of government witnesses.”).


        Where impeachment evidence of Government witnesses falls within the ambit of the Jencks Act

and Brady, the information may be withheld until after the witness’s testimony. 18 U.S.C. § 3500(b);

United States v. Presser, 844 F.2d 1275, 1282 (6th Cir. 1988) (“[N]either Giglio nor Bagley alter the

statutory mandate that any ‘statement’ in the government’s possession related to the subject matter of a

government witness’s testimony shall not ‘be the subject of a subpoena, discovery, or inspection until said

witness has testified on direct examination in the trial of the case.’”) (quoting 18 U.S.C. § 3500(a)).


        The Government avers that during the discovery process, it has disclosed all recordings obtained

in this case and has further informed Thompson that Special Agent Mick Stengel participated in the call.

(Docket No. 42 at 1, 2.)       Moreover, the Government has repeatedly acknowledged its disclosure

obligations pursuant to Brady, Rule 16, and the Jencks Act, 18 U.S.C. § 3500. Having provided

Thompson with the information required at this time, the Government need not deliver more. The Court

trusts that the Government will make any as-yet undiscovered Brady or Jencks Act material available to

defense counsel in a timely and professional fashion “in time for [their] ‘effective’ use at trial.” Presser,



                                                      3
 Case 3:14-cr-00031-RGJ Document 48 Filed 09/16/14 Page 4 of 4 PageID #: 181




844 F.2d at 1283. As stated in its prior Orders, the Court strongly encourages early disclosure of such

information.


                                       Conclusion and Order


       Having considered Thompson’s Motion and being otherwise sufficiently advised, consistently

with the foregoing discussion, IT IS HEREBY ORDERED that Thompson’s Motion to Compel Pretrial

Disclosure of Witness Identity & Telephone Recordings, (Docket No. 39), is DENIED.




                                                                     September 15, 2014




                                                  4
